Case 19-12809-JKS   Doc 547-1 Filed 05/07/19 Entered 05/07/19 13:10:02   Desc
                            Exhibit A Page 1 of 3




                           EXHIBIT A
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                            Exhibit A Page 2 of 3
                                                                                                                                                                                           Case 19-12809-JKS                  Doc 547-1          Filed 05/07/19 Entered 05/07/19 13:10:02                                   Desc
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                                                                                                                                                                                         ENTREPRENEURSHIP | MEDIA




If a Child Makes Joints, not Partner
                    By JULIE WEED                                                       pound in marijuana, for help with                                                 medical use and a high potential
Manndie Tingler kept her secret                                                         her pain without making her feel                                                  for abuse. If the Trump adminis-
from her parents, certain they                                                          high. Now, Ms. Tingler said, her                                                  tration decided to prosecute
would disapprove. And while                                                             mother leaves these topicals out                                                  cannabis        businesses,       en-
most Americans have come                                                                on the kitchen counter, “even                                                     trepreneurs could go to jail and
around, she knew her mom and                                                            though friends from church might                                                  forfeit their property, said Allison
dad would still consider it “a horri-                                                   see it.”                                                                          Margolin, a lawyer in Beverly
ble thing.”                                                                               In fact, Ms. Tingler speaks to                                                  Hills, Calif., who has focused on
   She eventually tired of hiding                                                       some of her mother’s friends on                                                   cannabis law for the last 16 years.
her affairs, so she began bringing                                                      the topic, she said, and has be-                                                     The immediate response of Ms.
up tidbits to “gauge their                                                              come something of a “senior                                                       Tingler’s parents to her news was
warmth.” Finally, Ms. Tingler told                                                      cannabis whisperer” in the last                                                   fear. “I was a single mother, and
them: She was helping to build a                                                        year, giving talks on how marijua-                                                they thought I’d lose my kids,” she
marijuana start-up.                                                                     na can ease some common com-                                                      said.
   Her mother’s response was                                                            plaints that come with age.                                                          The Justice Department, how-
curt: “So, are you going to get ar-                                                       “It’s not a cannabis-friendly                                                   ever, has not gone down this path.
rested?”                                                                                community,” she said of Roseville,                                                Ms. Margolin said she knew of
   Parents, at book clubs or block                                                      a city near Sacramento, but her                                                   zero federal prosecutions of peo-
parties, love sharing news of their                                                     most recent presentation drew                                                     ple conducting licensed marijua-
children’s success. But making                                                          150 people.                                                                       na activities in the last few years,
joints is a far cry from making                                                           Rob Hendrix’s mother-in-law                                                     unless they were also participat-
partner.                                                                                burst into tears when she heard he                                                ing in illegal activities as well. In
   Mom and Dad may abhor mari-                                                          was opening up Cannabis Central,                                                  fact, her practice now focuses
juana. They may fear their child                                                        the first legal pot shop in Ellens-                                               more on cannabis contracts and
will go to jail or be robbed in this                                                    burg, Wash.                                                                       due diligence than criminal cases.
                                                                                                                                                                                                                                                                                                                             MICHELE CROWE/CBS
cash-heavy marketplace, which is                                                          “She was so proud of the lives                                                     Some parents just wish their
                                                                                                                                                                          children would apply their talents       From left, John Dickerson, Gayle King and Norah O’Donnell, the current co-hosts of “CBS This Morning.”
still illegal in the eyes of the fed-                                                   our family had led, our place in the
eral government. And, of course,                                                        community, it was an absolute                                                     elsewhere. A real estate agent in

                                                                                                                                                                                                                   New Boss to Remake CBS News
they may just be disappointed.                                                                                                                                            New York City whose son runs an
   While legalization has thrown                                                                                                                                          organic marijuana farm did not
open the doors to entrepreneurs,                                                        Parents struggle to                                                               want her name used in this article.
women and minorities still face                                                                                                                                           She said the family was very upset
the typical biases and roadblocks                                                       accept a novel                                                                    and had tried to talk him out of it.
                                                                                                                                                                                                                   FROM FIRST BUSINESS PAGE
                                                                                                                                                                                                                   ers on May 15. The latest round of
                                                                                                                                                                                                                                                          view in January that she took the
                                                                                                                                                                                                                                                          job because, “I felt at this moment
                                                                                                                                                                                                                                                                                                  evening shift may be accompa-
                                                                                                                                                                                                                                                                                                  nied by a bigger change inside
when it comes to getting their
ideas funded, and efforts to make
                                                                                        business choice.                                                                     She had a long list of worries, in-
                                                                                                                                                                          cluding the company he would
                                                                                                                                                                                                                   changes and tensions at CBS            in my life and my career this was       CBS: uprooting the “Evening
                                                                                                                                                                                                                   News were described by several         the time to step up.”                   News” from its longtime Manhat-
recreational cannabis legal have                                                                                                                                          keep in the industry and the possi-      people granted anonymity to de-
                                                                                                                                                                          bility that he would use marijuana                                                 But Ms. Zirinsky had little prior    tan home and relocating the
stalled in states like New York and                                                     shock and blow,” Mr. Hendrix said.                                                                                         scribe sensitive internal discus-      experience in the darker arts of        broadcast to Washington. The
New Jersey. Lawmakers are                                                                  Before getting into cannabis, he                                               more often.                              sions.                                 managing a television news net-         change is a bold and expensive
struggling with how to right some                                                       had managed a car dealership in                                                      Maggie Gonring, who is 62 and            Gayle King — who has had a          work: negotiating with rapacious        risk for an evening newscast that
of the wrongs from the war on                                                           his city of about 20,000 people,                                                  lives in the Chicago suburbs, used       string of successes in recent          agents, juggling multiple pro-          has been mired in third place
drugs, which disproportionately                                                         about 100 miles southeast of Se-                                                  to tell friends that her son worked      months, including an interview         grams, weathering leaks to The          among the broadcast networks. A
targeted minorities, but consen-                                                        attle. He was involved in the Rota-                                               in software. She would leave out         with R. Kelly that went viral on so-   New York Post.                          Washington-based crew would
sus has been difficult.                                                                 ry Club and had helped found the                                                  one key detail: that his company,        cial media — would be the center-         Colleagues say they admire Ms.       need to be hired, and the cost of
   Even so, there’s no shortage of                                                      youth football league.                                                            Helix TCS, made “seed to sale”           piece of Ms. Zirinsky’s revamped       Zirinsky’s resolve and journalistic     shuttling staff between the two cit-
cannabis entrepreneurs. Most of                                                            While Mr. Hendrix’s mother-in-                                                 cannabis tracking software.              “CBS This Morning.” John Dicker-       instinct, and her approachable          ies could prove costly.
the $8.5 billion industry has                                                           law has eased her stance over the                                                    She worried that a job in             son, an anchor since 2018, would       management style of consulting             Still, Ms. Zirinsky’s changes to
sprung up in recent years in the 33                                                     past few years, asking him ques-                                                  cannabis would be such a severe          slide over to “60 Minutes,” accord-    with staff members at all levels on     the morning show could be her
states, plus Washington, D.C., that                                                     tions and clipping articles on the                                                black mark on his résumé that it         ing to four of the people familiar     a range of topics. But they say that    most crucial bet.
have legalized marijuana for med-                                                       topic, some relatives still won’t                                                 would take him out of the running        with the plans.                        her approach — more closely re-            “CBS This Morning,” which
ical or recreational purposes.                                                          broach the matter.                                                                for future jobs. When Ms.                   Norah O’Donnell, Ms. King’s         sembling that of a producer than a      trails NBC’s “Today” and ABC’s
That’s about the size of the Ameri-                                                        “You know the usual chitchat,                                                  Gonring’s 88-year-old mother             other co-anchor, is the likely con-    traditional tight-lipped media ex-      “Good Morning America” by a
can yogurt market.                                                                      like ‘How’s your business going?’                                                 asked for medical marijuana at a         tender to take over “CBS Evening       ecutive — has allowed uncer-            wide margin in the ratings, is a
   There are about 6,200 compa-                                                         ‘How’s your work?’ I don’t get any                                                doctor’s appointment, however,           News,” replacing Jeff Glor, who        tainty and fear to fester among         significant source of revenue,
nies that “touch the plant,” said                                                       of that,” he said.                                                                she realized the substance had           has been in the job for 18 months,     some anchors and crew members.          bringing in $253 million last year,
Matt Karnes, a cannabis industry                                                           It has been stressful. “We know                                                lost some of its stigma.                 the people said.                          She has not been shy about dis-      according to Kantar Media. Until
analyst and founder of Green-                                                           we entered a controversial world,”                                                   As legalization has spread, she          If Ms. O’Donnell ascends to the     cussing potential changes to the        2017, the program had been lap-
Wave Advisors. He estimates that                                                        Mr. Hendrix said, “and we’re deal-                                                has grown more comfortable with          job, she would join a short but ex-    anchor lineup with a variety of         ping at the heels of rivals, pow-
a typical company has 40 employ-                                                        ing with it the best we can.”                                                     her son’s work, even allowing her-       alted list of women who have           staff members, two of the people        ered by the interplay between Mr.
ees.                                                                                                                                                                      self some parental pride.                served as solo evening news an-        said, and several complained that       Rose, Ms. King and Ms. O’Don-
                                                                                           While a typical entrepreneur’s
   Ms. Tingler’s parents were not                                                       worst fear may be bankruptcy, the                                                    For some parents of pot en-           chors at the three major networks,     her decision-making process has         nell.
only worried, but ashamed. “My                                                                                                                                            trepreneurs, acceptance has              including Katie Couric at CBS and      stretched too long.                        But Mr. Rose’s firing set off a
                                                                                        stakes are greater with cannabis.
parents are very conservative                                                                                                                                             veered into partnership.                 Diane Sawyer at ABC. Ms. O’Don-           Ms. Zirinsky has also been ada-      number of lineup changes that
                                                                                        Despite growing acceptance, ma-
Christians, and they worried their                                                      rijuana remains a Schedule 1 sub-                                                    Ten years ago, when he was 19,        nell’s role remains under negotia-     mant about not letting news re-         failed to resonate with viewers.
church friends would think they                                                         stance, like heroin, meaning the                                                  Colin Cambern didn’t want to go to       tion, and CBS declined to com-         ports dictate her decisions. But        Mr. Dickerson, a star political in-
raised a ‘pothead,’ ” she said.                                                                                                                                           school anymore, he said. His fa-         ment for this article.                 speculation about new roles for         terviewer, was shifted from “Face
                                                                                        federal government regards it as
   Before she decided to hang her                                                                                                                                         ther, Sean, a business consultant,          The changes will bring a degree     Ms. O’Donnell and Ms. King has          the Nation,” but was an awkward
                                                                                        having no currently accepted
cannabis shingle, Ms. Tingler, of                                                                                                                                         suggested that he start a com-           of certainty to a news operation       floated in the news media for           fit for the saccharine world of
Roseville, Calif., had run a non-                                                                                                                                         pany. The elder Mr. Cambern said         besieged by speculation about          months. As recently as Thursday,        morning TV. A fourth anchor,
profit and worked in child and                                                                                                                                            he was “taken aback” when his            who’s in and who’s out.                The Post reported on Ms. Zirin-         Bianna Golodryga, was added in
family counseling. “That was a no-                                                                                                                                        son told him a few weeks later that         It will also be a benchmark for     sky’s ideas to change the morning       October; by April, she had left the
ble job,” she said. “This one was                                                                                                                                         he wanted to grow marijuana for          Ms. Zirinsky, now 67, who had          show and the evening newscast.          network.
edgy.”                                                                                                                                                                    the California medical market.           been reluctant in the past to ac-         The uncertainty has allowed             Ms. Zirinsky is expected to pair
   Last year, Ms. Tingler helped                                                                                                                                          Still, Mr. Cambern decided that          cept the role of CBS News presi-       other factions of the newsroom to       Ms. King on “CBS This Morning”
found Khemia, a company that                                                                                                                                              he’d help his son, treating him like     dent, and in recent months has         assert themselves.                      with Anthony Mason, who cur-
packages marijuana for sale and                                                                                                                                           “any other client,” and he dived         openly questioned if she should           Within the last two months,          rently hosts the show’s Saturday
rolls it into joints. She is building a                                                                                                                                   into learning about the industry.        have accepted the role, two of the     some in the senior ranks lobbied        edition, and Tony Dokoupil, a net-
facility to make cannabis-infused                                                                                                                                            Colin Cambern got his business        people said. Ms. Zirinsky told the     for Scott Pelley to return to the an-   work correspondent who is mar-
topical lotions, edibles and con-                                                                                                                                         off the ground, baking THC-in-           journalist Yashar Ali, who previ-      chor chair of “CBS Evening              ried to the NBC News star Katy
centrated marijuana.                                                                                                                                                      fused cupcakes and muffins with          ously reported her misgivings,         News,” according to two people fa-      Tur.
   Acceptance has been gradual                                                                                                                                            his girlfriend, while working at a       that she had “ZERO regrets about       miliar with internal conversa-             Two of the people said that Mr.
over the last five years. Ms. Tin-                                                                                                                                        local dispensary to gain experi-         taking this job.”                      tions.                                  Glor, a relative unknown at the
gler’s mother, Teri Moulton, has                                                                     AMY HARRITY FOR THE NEW YORK TIMES                                   ence. His father soon became                A legend within the news divi-         Mr. Pelley anchored the news-        time he ascended to the anchor’s
arthritis, and Ms. Tingler slowly                                                       Manndie Tingler, who helped start                                                 head of sales, meeting with dis-         sion — she was the inspiration for     cast from 2011 to 2017, before leav-    chair, would probably be offered
introduced her to salves that have                                                      the cannabis company Khemia, and                                                  pensary owners and managers              Holly Hunter’s character in the        ing for “60 Minutes” amid falling       another job at the network; Mr.
low levels of THC, the active com-                                                      her mother, Teri Moulton.                                                         who might stock the product.             1987 movie “Broadcast News” —          ratings and a somewhat strained         Mason’s move to weekdays leaves
                                                                                                                                                                          From there, he began taking or-          Ms. Zirinsky is the first woman to     relationship with David Rhodes,         open his Saturday morning slot.
                                                                                                                                                                          ders and making deliveries.              serve as CBS News president, and       Ms. Zirinsky’s predecessor as           Although he landed two inter-
                                                                                       @@@@@ @   @d HI@@ @                       Owners at some of the dispen-         her promotion was literally met        CBS News president.                     views with President Trump, Mr.
                                                                                      c @@ @c@@@drc@@@@@@@
                                                                                      oþ@f@TQP[@HI@@ @@ @ @@@ @@                saries started asking for business       with cheers. The longtime over-           Ms. Zirinsky considered the          Glor’s run may prove the limits to
                                                                                       @s  @Z@HI@ @@@not   @@@@ò Ló@             advice, and the elder Mr. Cambern        seer of “48 Hours,” she was a          Pelley idea before ultimately rul-      the theory that big-name anchors
                                                                                      ò Ló@@ò [ó@HI@@ @@ @ @
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to@ all@ known@ creditors@ of@ the@ aboveMcaptioned@                                   @s  [@@HI@@ @@ @ @@ @@
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                                                                                                                                                                          ant with a raft of clients.              rank-and-file. She said in an inter-      Ms. O’Donnell’s move to the          evening newscast.
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                                                                                                                                                                            has been provisionally certiﬁed as a class action for    If you hold (or held) your ADRs directly and are
 L@  L@  L@@   [@@HI@ @@ @@  @                                                                                                                                                                                                                                                     (300)
  @@ @@  @@@ @ @ @@@@@                  c   @ @ f @ @ f @ p@ @ cZ@ a@  L@            settlement purposes and a $9,500,000 settlement          listed on JPM’s transfer agent records, you are a
 L@  @@@@@@@  @  @@  @@                L@@  @@@   @@þ@@p@@
 L@þ L@ L@ L@ L@ L@ L@                c@@@ @b@d @o L@@@@@@@ @                     has been proposed, which, if approved, will resolve
                                                                                       @b@d @@@ @@@ @ @@@                                                                                Registered Holder Settlement Class Member and                     335 West 39 ST
  L@@  N
                                                                                       @b@d @o @@@ @  @@HI@ @@ @@                   all claims in the litigation. This notice provides
    t @b@d @o @  @ @@@ @@þ@p@
                                                                                        @@@þ @@ @ @QQ@ L@HI@ @@@                                                                          do not have to take any action to be eligible for a
@c@@ @ @QQ@ Z                                                                                                                                           basic information. It is important that you
    t @g  @b@d Z@@p@@ @b@d @o L@ @@ @@         @@ @ @QQ@ @@@@@cL@@                                                                             settlement payment. However, if you hold (or held)                Hudson Yards District Development
 @@@ @@  L@HL@@L@L@      HI@   @ @ @  @@ cN@ i@ @ @ @              review the detailed notice (“Notice”) found at the                                                                         site for sale total buildable approx
 L@L@@  L@@I@@ @@cL@         @ @s  @  @@c@@ L@ L@                                                                                your ADRs through a bank, broker or nominee                       45000 sqft. call today! 718-677-6500
L@@L@@@ @ @UPSHIHYI@@ @             O@ @@@  @ @ @@þ L@                   website below.
b@c @H L@@òUPSHIHYI@cóIL@  @L@@@            @@ þ @@ p@ @ c@@ @  @  @ @b@                                                                           and are not listed on JPM’s transfer agent records,
L@@ @@@@@ @p @d L@@þ @p@@c@         d N@ a@  L@ L@ @   @ @ @   @                              What is this lawsuit about:                    you are a Non-Registered Holder Settlement Class
@@@@c@@j @QXL@RPQY@@UZPP@NN@H @                   @  @ @ @  @ s  @  @ @ @  @
e @t I@H @òg  @b@d óIN                                                @@  @@@c@@ @ @                   Plaintiffs claim that JPM, as depositary bank for the    Member and you must submit a Claim Form,
                                                                                        N
    t @ g  @ b@ d Z@ p@ @  @ b@ d @ o L@  @ @
 @@ @@  @@H@ þ @@ @QPQHRWI@@                     p  @@f@p@@cZ@a@p@@c@@ @  @           American Depositary Receipts or securities covered       postmarked by September 19, 2019, to be eligible
 @b@c I@@þ @p@@c@@ @d @@ @             @@@ @@p@@c@@@   @@drc@@            by the litigation (“ADRs”), assigned foreign
   @@a@QRL@RPQY@@UZPP@NN@H @e @t I@                   @  @ @ @b@d @HI@  @@ @  @                                                                      for a settlement payment. Non-Registered Holder
H @òg  @b@d óIN                                                          @  @ d õ@ @ @ @  L@ dL@ r @ F@ cL@       exchange rates (“FX”) to the conversion of non-          Settlement Class Members who do nothing will
    t @a  @s  @b@d Z@i@ @d @ @@  @               iNL@ @  @   @  @ @ @   @  @ @ ZOO
 @s  @  @@ @  @@@n L@ @d @@           N NOc O Of c@ H @ òElectronic                        U.S. dollar-based cash distributions, which reﬂected
                                                                                                                                                                                                                                     not receive a payment, and will be bound by all
 @ @@@@  @@  @@ @ @@c@
  @  L@@@ @@ @ @ @ @@HI@ @
                                                                                      Filing SystemóI@@HI@@@@ @@ Z@dL@r @
                                                                                      F@ cL@ iNL@ r Z@ n @ e@ m@ f @ iNL@ @ NL@ pNoN@ b@     a spread that was added to the FX rate JPM actually
                                                                                                                                                                                                                                     Court decisions.
                                                                                                                                                                                                                                                                                                     Support
 @b@d @@HI@UZPP@NN@H @@e @t I@@
 @ @@@ M @HRQI@@@ @ @@@@
                                                                                      QYYPTSL@ b  @ sL@ bL@ ny@ QQRQY[@ @ HI@ @  L@
                                                                                      @   L@ @  @   @ @  @ @  Z@ dL@
                                                                                                                                                                            received at the time of the conversion, and thereby
                                                                                                                                                                                                                                     If you are a Settlement Class Member and do
                                                                                                                                                                                                                                                                                                     brighter futures.
 @@ L@@þ @@p@@c@@  @@ @  @                r @F@cL@iNL@r Z@n @e@m@f L@iNL@ @NL@VRPQ@            improperly retained class member dollars from
                                                                                      QU@ a  L@ bL@ ny@ QQRQYN@ p@ @ c@ @ @  @  @ @
c@ H @òa  @s  @b@ d óIN@ a@  @ @ @
@þ @@p@@c@  @ @s  @ @  @@@                  L@  L@@  @N@a@@@ @@   @            such distributions. JPM has denied, and continues        not want to remain in the Settlement Class, you                 Learn how you can sponsor
 @  @@þ @ @p@@cL@ @ @@ @                 @@  @@@p@@c@@@@@@
                                                                                      @ @p@@c@@@@ M  L@ @   @@drc@             to deny, any wrongdoing or liability whatsoever.         may exclude yourself by request, received by                    classroom subscriptions at
@ @  @L@@  L@@@ L@ @@@
þ @ @p@@c@@@@ @   @@ @a  @s  @             @@ @@p@@cN@i@@þ @@p@@cL@@p@
                                                                                                                                                                                Who is a Settlement Class Member:                    July 3, 2019, in accordance with the Notice. If you             nytimes.com/sponsor.
b@d N@                                                                            @c@Z@HI@ @ @@ @e@ [@HI@ @  @
    t @r  @b@d Z@t @@ @@ @@@ @@ @          @@ @@ @u @s @@@ @p @d [@HI@@
                                                                                                                                                                            Persons or entities who are or were holders (directly    exclude yourself, you will not be bound by any
HL@ @ L@ L@  L@ L@        @ @ oþ@ b@ f@ nN@ TQP[@ HI@  @ @ @
@  L@@I@ @c@ @@@ @cM @              þ@ @ @ @@ @@ @  @c[@ H I@ @         or indirectly, registered or beneﬁcially) of or          Court decisions in this litigation and you will not
                                                                                      @  @ HL@ @ @  @ @ L@
  @@@  @@@  @  @@ @@
 @ SVU@ @  @ b@ c @ H L@ @ òr  @ d @              @ @ @ @  I@ @ @ @ @ @ @ @          otherwise claim any entitlement to any payment           receive a payment, but you will retain any right you
cóI@@þ @@p@@c@@@@@r  @d @                  @@@ [@@HI@ @ @@ @@L@@ @
                                                                                      @@@@L@@@ @ @@ @N                (dividend, rights offering, interest on capital, sale    may have to pursue your own litigation at your own
c@@ @ @@HI@ @@ @b@d @@HI@UZPP@NN@
H @ e @ t I@ @  @  @ @ @ @ HSPI@ @                  a@iZ@@c @@ @s  @@ @b@d @o @
                                                                                                                                                                            of shares or other distribution) in connection with      expense concerning the settled claims. Objections
@ @  @ @ @  @  @ @  @   @ @                 @ @@ @@ @ @@@ @oþ @@
 @  @ @ @   @   @ @ @ @@                   @c @@ @cN@i@L@ @@ @s  @@ @b@d @        (i) securities listed on Appendix 1 to the Notice        to the settlement, Plan of Allocation, or request for
 @ @  @  @ r  @ d @ c@ @ @ @                  o @@ @  @@ @  @@@ @@ @cõ@  @HZOO
H  @@ @g  @b@d L@ @g  @b@d @@ @             NNNOI@@@ @@ @ @cõ@             (including any predecessor or successor) from            attorneys’ fees and expenses must be received by
                                                                                         @þ@ @@@  L@@ @@ @@drcõ@  @
a  @s  @b@d L@ L@@òb@d óIN
    e @ t@ m@ f @ p@ @ c@ @  @ a @ b@ d Z@   @ @ @ QQ@ @ HZOON NOc O O                November 21, 2010 to July 18, 2018; or (ii) securities   July 3, 2019, in accordance with the Notice.
                                                                                      i IN@q @ @ @ @@@n @@  @@
s @@ @ @  @ @@ @@@r  @d @
cL@@L@ @@ @@  @@@@þ @@        @p@@c@@@ @  @@drc@@ @@HXVVI@          listed on Appendix 2 to the Notice (including any        A hearing will be held on August 8, 2019 at 11:00
                                                                                      WRQMQRQQN@@p  @ @@drcõ@@@@  @@ @ @               predecessor or successor) from November 21, 2012
p@@c@@ @ @b@d @@  @@@c@@@
 @  @@HI@ @@ @@  @@@þ @@ @ @             N@y@@@@@@ @@ @                                                                              a.m., before the Honorable Valerie E. Caproni,
QQ@ L@HI@ @ @@ @ @  @  @ QQ@  @ @      @@ @ L@@@ @ @ @                      to July 18, 2018.                                        at the Thurgood Marshall U.S. Courthouse,
@@@cL@@HI@   @ @ @ @@cZ@           @@þ@@@p@@cN
HI@@ @ @c@@ @d @@@ @@ @d õ@         gibbons@pNcNL@@bZ@@OO@Karen A. Giannelli@@@L@k @aN@g L@eNL@m@bN@                  What are the beneﬁts:                       40 Foley Square, NY, NY 10007, to determine if the
s  @@ @c@@ @@ @s  @@@ @  @@         cL@eNL@b @sN@t  L@eNL@o @g @c  L@n L@n @j  @@
 L@ L@O@ [@HI@@ @@   @@        PWQPRL@ t   Z@ HYWSI@ UYVMTUPPL@ f Z@ HYWSI@ UYVMPUTUL@ eMZ@@         If the Court approves the settlement, the proceeds,      settlement, Plan of Allocation, and/or request for
@c@@ @þ @@ @s  @@@ @@@ @       `NL@ `NL@   `
@@@  @@ @@c@ @@@þ@@              NL@@Counsel to the Debtors and Debtors-in-Possession                     after deduction of Court-approved notice and             fees and expenses should be approved. Supporting
@ @@@ þ @@ @s  [@@HI@@ @@
   @@@c@@ @@ @s  @@@@@@ @
                                                                                      Q
                                                                                       @@@@t @d @@  @ @QQ@ @@ @@@@@ @          administration costs, attorneys’ fees and expenses,      papers will be posted on the website once ﬁled.
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c@ @@@d @ @@@ þ @@ @s  N            m@f L@iN@HWVYWI[@e @f @wL@iN@HSTVQI[@nemf@w@
    e @n@r  @@f @p@@c@@ @a @b@d Z@        tL@ iN@ HRWWWI[@ a @ lL@ iN@ HUSTWI[@ j@ l @ cN@
                                                                                      HYPPYI[@c @i L@iN@HYRRSI[@mL@llc@HTSUWI[@mjL@llc@HWSPUI[@
                                                                                                                                                                                          For more information visit www.JPMorganADRFXSettlement.com
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@  @ @@þ @p@@c@@@  @ @M                      h@a  @sL@llc@HRRPVI[@u @e @sL@llc@HQQRVI[@@                         email info@JPMorganADRFXSettlement.com or call 1.866.637.9457
 @b@d Z@HI@@ @@ @@ @@þ @@                     nemf@lL@llc@HTVVVIN
